                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 1 of 32 Page ID
                                                     #:10449



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                      12                           UNITED STATES DISTRICT COURT
                      13                         CENTRAL DISTRICT OF CALIFORNIA
                      14                                  WESTERN DIVISION
                      15 SECURITIES AND EXCHANGE           Case No. 2:15-CV-07425-RGK-PLA
                         COMMISSION,
                      16                                   RECEIVER'S FORENSIC
                                    Plaintiff,             ACCOUNTING REPORT
                      17
                              v.
                      18
                         STEVE CHEN, USFIA, INC.,
                      19 ALLIANCE FINANCIAL
                         GROUP, INC., AMAUCTION, INC.,
                      20 ABORELL MGMT I, LLC, ABORELL
                         ADVISORS I, LLC, ABORELL
                      21 REIT II, LLC, AHOME REAL
                         ESTATE, LLC, ALLIANCE
                      22 NGN, INC., APOLLO REIT I, INC.,
                         APOLLO REIT II, LLC, AMKEY, INC.,
                      23 US CHINA CONSULTATION
                         ASSOCIATION, and QUAIL RANCH
                      24 GOLF COURSE, LLC,
                      25                    Defendants.
                      26
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                      28
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                            1189688.01/LA
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 2 of 32 Page ID
                                                     #:10450


                                                                       TABLE OF CONTENTS
                       1
                                                                                                                                                    Page
                       2
                            I.        OBJECTIVES, TIMEFRAME, METHODOLOGY AND
                       3              LIMITATIONS ............................................................................................... 1
                       4 II.          EXECUTIVE SUMMARY ............................................................................. 3
                       5 III.         ANALYSIS AND CONCLUSIONS .............................................................. 4
                       6              A.       Summary level sources and uses of investor funds .............................. 4
                       7              B.       Funds Raised by Entity ......................................................................... 5
                       8              C.       Use of Funds ......................................................................................... 6
                       9                       1.       Payments to Insiders ($49.4 million).......................................... 7
                      10                       2.       Other Recipients of Ill-Gotten Gains ........................................ 10
                      11                       3.       Payments to Overseas or Attenuated Corporate
                                                        Entities ...................................................................................... 10
                      12
                                               4.       Summary of Real Estate Purchases .......................................... 12
                      13
                                               5.       Operating Expenses .................................................................. 13
                      14
                                               6.       Commissions and Awards ........................................................ 13
                      15
                                               7.       Ornamental and Semi-Precious Jewelry ................................... 14
                      16
                                               8.       Amber ....................................................................................... 14
                      17
                                               9.       Vecast Stock ............................................................................. 14
                      18
                                               10.      Precious Gems .......................................................................... 15
                      19
                                               11.      Cost of Goods Sold ................................................................... 15
                      20
                                               12.      Real Property Operating Expenses ........................................... 15
                      21
                                               13.      Funds Returned to Investors ($1.7 million) .............................. 15
                      22
                                               14.      Credit Card Payments ($.306 million)...................................... 15
                      23
                                               15.      Mortgage Principal Paid ($.169 million) .................................. 16
                      24
                                      D.       Intercompany Transfers and Commingling ........................................ 16
                      25
                            IV.       CONCLUSION ............................................................................................. 17
                      26
                      27
                      28
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                            1189688.01/LA                                                 (i)
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 3 of 32 Page ID
                                                     #:10451



                       1              Thomas A. Seaman ("Receiver"), was appointed Permanent Receiver for
                       2 Court-appointed receiver for Defendants USFIA, Inc. ("USFIA"), Alliance Financial
                       3 Group, Inc., Amauction, Inc., Aborell Mgmt I, LLC, Aborell Advisors I, LLC,
                       4 Aborell REIT II, LLC, Ahome Real Estate, LLC, Alliance NGN, Inc., Apollo
                       5 REIT I, Inc., Apollo REIT II, LLC, Amkey, Inc., US China Consultation
                       6 Association, Quail Ranch Golf Course, LLC, and their subsidiaries and affiliates
                       7 (collectively, "Receivership Entities"). The Receiver hereby provides his Forensic
                       8 Accounting Report (the "Report") of the receipts and disbursements of the
                       9 Receivership Entities for the period from January 1, 2010 to the entry of the TRO on
                      10 September 28, 2015.
                      11 I.           OBJECTIVES, TIMEFRAME, METHODOLOGY AND LIMITATIONS
                      12              The objectives of the Forensic Accounting Report are to: 1) identify assets of
                      13 the Receivership Estate; 2) identify potential recipients of ill-gotten gains and
                      14 fraudulent transfers; 3) determine the amount received for the personal benefit of the
                      15 Defendant, Steve Chen ("Chen"); 4) quantify investor losses; 5) establish the cost
                      16 basis of assets; 6) provide input for income tax returns; and 7) provide a basis for
                      17 distribution of funds recovered by the Receiver.
                      18              The starting point of this report is January 1, 2010. While it appears that the
                      19 Defendant’s enterprises pre-date 2010, this date was selected as the starting point
                      20 because defendant USFIA was incorporated that year, and at the time, the
                      21 Receivership Entities only held cash of $157,207, a comparatively low balance when
                      22 compared with the over $197,000,000 received from investors over the next 5 years.
                      23 Importantly, and as a practical matter, banking records were available for that period
                      24 allowing for more accurate tracing of transactions. Finally, the choice of 2010 as a
                      25 starting point also makes sense because it is the year when the Receivership Entities
                      26 commenced procuring the assets that were ultimately recovered by the Receiver.
                      27              In order to achieve the objectives of the Forensic Accounting Report, a
                      28 Quickbooks file was created using a Chart of Accounts designed to collect cash
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                            1189688.01/LA
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 4 of 32 Page ID
                                                     #:10452



                       1 receipts and disbursements in a framework that matches the objectives of the report.
                       2 The Quickbooks file combines all cash receipts and disbursements into a relational
                       3 data base that allows the user to extract sources and uses of funds relative to: timing,
                       4 recipient, category, asset, and other attributes. Each and every deposit and
                       5 withdrawal was entered into a bank account in the Quickbooks file wherein it was
                       6 assigned to an account, a class, a subclass, and noted with a memo providing
                       7 additional pertinent information.
                       8              A Chart of Accounts designed to collect costs in logical categories is attached
                       9 as Exhibit A. Accounts were established to determine revenue, expenses, assets and
                      10 liabilities, disbursements, and transfers between the entities. The accounting
                      11 encompasses 17 entities that used 91 banks accounts. Each account was reconciled
                      12 by month and balances to the beginning balance in the account and the ending
                      13 balance in the account as of the date it was seized by the Receiver.
                      14              Classes for each entity were established to isolate activity for each corporate
                      15 entity that received investor funds. Sub-classes were established based on the
                      16 purpose of the financial transaction. For example, sub-classes were created to reflect
                      17 money raising, use of the investor proceeds, intercompany transfers where funds
                      18 were used for expenses of the enterprise, and transfers which appear to have been
                      19 solely for the personal benefit of Chen, his relatives and other insiders. The sub-
                      20 classes are thus referred to as: Money Raising, Money Investing, and Intercompany
                      21 Uses.
                      22              The Receiver had no access to the Defendant or to the employees that assisted
                      23 him in operating the enterprise. Therefore the Report is limited to facts and
                      24 conclusions that are either based on what is stated in the business records and bank
                      25 records, or that can logically be deduced from the data. As such, in some instances,
                      26 the Receiver may not be able to fully characterize the nature or reason for certain
                      27 transactions that are reflected in the books and records. Notwithstanding these
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                            1189688.01/LA                                 -2-
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 5 of 32 Page ID
                                                     #:10453



                       1 limitations, all receipts and disbursements have been accounted for and reconciled to
                       2 the bank records.
                       3              In addition, the Receiver discovered evidence that funds were being raised
                       4 from oversees investors and that these funds were not collected in the U.S. accounts.
                       5 Thus, to the extent that funds were raised and spent outside the United States, the
                       6 true extent of Chen's fraudulent scheme cannot be fully known. The Receiver also
                       7 faced significant issues with regard to both multiple languages and overseas financial
                       8 institutions. The lack of cooperation from these institutions and the language issues
                       9 posed additional limitations on the Receiver’s full understanding of the scope of this
                      10 scheme.
                      11                                 II.   EXECUTIVE SUMMARY
                      12              This receivership involves a complex and wide-ranging group of enterprises
                      13 and assets funded with the fruits of the fundraising scheme at the heart of the action
                      14 filed by the Securities and Exchange Commission ("Commission") against defendant
                      15 Chen. In its Order re Plaintiff’s Motion for Summary Judgment, the Court found that
                      16 Chen operated a pyramid scheme in violation of federal securities laws. [Dkt. 167]
                      17 From January 1, 2010 and through the date of the Receiver's Appointment on
                      18 September 28, 2015, the Defendants raised approximately $197 million from
                      19 investors. Of that amount, $49.4 million was used to fund lavish lifestyles of Steve
                      20 Chen, his dependents and others including but not limited to $1.1 million that was
                      21 used to purchase expensive vehicles. In addition, $45.5 million was spent on real
                      22 estate, including 11 single family homes, some of which were occupied by insiders
                      23 or dependents of Chen. In addition, Chen purchased a hotel, an apartment building,
                      24 and several tracts and parcels of undeveloped land.
                      25              The cost of raising funds from the investors is reflected in the $15.6 million
                      26 paid in commissions and expenses of the employees and other sales people who
                      27 raised funds from investors. In addition, the Defendants spent $27.5 million to
                      28 operate the enterprise.
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                            1189688.01/LA                                 -3-
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 6 of 32 Page ID
                                                     #:10454



                       1              Remarkably, despite raising $197 million from investors, Chen and the
                       2 Receivership Entities only returned $1.7 million to the investors. Moreover, there
                       3 was only approximately $27.4 million on hand when the Receivership Entities' assets
                       4 were frozen and taken over by the Receiver. The following report details how the
                       5 Receivership Entities used these extraordinary sums of money.
                       6                           III.   ANALYSIS AND CONCLUSIONS
                       7 A.           Summary level sources and uses of investor funds.
                       8              Exhibit B provides a Profit & Loss Statement and Balance Sheet which form
                       9 the basis for the following sources and uses of cash analysis.
                      10
                             Sources                                          $ millions
                      11
                      12     Beginning cash                                          0.1
                      13
                                                                                   197.0
                      14     Investor Funds
                      15     Operating Revenue                                       8.2
                      16     Rental Revenue                                          2.1
                      17     Dividends and Interest                                  0.3
                      18     Mortgage proceeds                                       2.4
                      19     Credit card charges                                     0.3
                      20     Total Cash Inflows                                    210.3
                      21
                      22     Uses
                      23     Payment to insiders                                    49.4
                      24     Real Estate Purchases                                  45.5
                      25     Operating Expenses                                     27.5
                      26     Commissions                                            15.6
                      27     Ornamental Jewelry                                     11.6
                      28     Amber                                                   8.3
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                            1189688.01/LA                               -4-
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 7 of 32 Page ID
                                                     #:10455



                       1     Vecast stock purchase                                    6.0
                       2     Precious Gems                                            5.4
                       3     Cost of Goods sold (Amkey and Amauction)                 5.2
                       4     Real Property Expenses                                   3.3
                       5     Ammine Expenses                                          2.4
                       6     Funds returned to investors                              1.8
                       7     Vehicles                                                 0.4
                       8     Credit card payments                                     0.3
                       9     Mortgage principal paid                                  0.2
                      10     Jewelry supplies                                         0.1
                      11     Total Cash Out                                         183.0
                      12
                      13     Ending cash to Receiver                                 27.4
                      14
                      15 B.           Funds Raised by Entity.
                      16              The Receivership Entities raised $197 million from investors representing the
                      17 vast majority of funds coming into the enterprise. Based upon the timing of
                      18 investments, the marketing materials being used during that the relevant time period
                      19 and other such indicators, the Receiver believes that approximately $147 million was
                      20 raised from investors who were pursuing an investment in USFIA investment
                      21 packages and later, the Gemcoin related enterprise (collectively "USFIA Package
                      22 Investors"). These USFIA Package Investors accounted for nearly 75% of the total
                      23 funds raised from all investors. It is notable that the USFIA Package Investors' funds
                      24 were deposited into accounts of various Receivership Entities without any apparent
                      25 concern over the source of the money, the representations made to investors, or the
                      26 commingling of funds. The amounts invested by USFIA Package Investors were
                      27 paid to the following entities:
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                            1189688.01/LA                                -5-
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 8 of 32 Page ID
                                                     #:10456



                       1              USFIA Package Investors            $ millions
                       2                     Ahome                         $46.8
                       3                     Amauction                     $18.2
                       4                     Amkey                         $48.4
                       5                     USFIA                         $33.6
                       6              Total USFIA Package Investors       $147.0
                       7              Non- USFIA Package Investors
                       8              Aborell                                  $0.1
                       9              Ahome                                    $2.1
                      10              Alliance                             $11.2
                      11              Ally                                     $4.4
                      12              Amkey                                    $20.6
                      13              Apollo REIT                               $6.9
                      14              Steamfont                                 $4.6
                      15              Total Non-USFIA Package Investors $50.0
                      16              Total investor funds                $197.0
                      17              In addition to funds raised from investors, the Receivership Entities generated
                      18 revenue from Amkey and Amkey related entities which sold purported health and
                      19 beauty products using a multi-level marketing structure. Amkey product sales were
                      20 $7.6 million over the nearly six-year period. Amauction generated revenue of
                      21 $.6 million and the various real estate assets generated $2.1 million in rental revenue.
                      22 Overall, when compared to the over $197 million raised from investors, there was no
                      23 significant revenue generating activity other than raising funds from investors.
                      24 C.           Use of Funds.
                      25              The total investor funds and revenue from other sources reflect total revenue
                      26 of $210.3 million. The Receiver took possession of $27.4 million at the time of his
                      27 appointment. The balance of $183 million was spent as follows:
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                            1189688.01/LA                                -6-
                     Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 9 of 32 Page ID
                                                     #:10457



                       1              1.    Payments to Insiders ($49.4 million).
                       2                    a.    Steve Chen. Chen received direct cash payments of $4,039,393
                       3 from investor funds. Chen also used investor proceeds to pay his personal expenses
                       4 of $1,165,034. These amounts do not include significant payments to and on behalf
                       5 of numerous Chen dependents including but not limited to his spouse, former
                       6 spouses, girlfriends, and the mothers of his children. For example, the accounting
                       7 reflects payments to Gymboree, tuition for private middle and high schools, and
                       8 tuition for University of California at Irvine. Payments to and on behalf of Chen’s
                       9 dependents and relatives are discussed in further detail below.
                      10                    b.    Yan Chen. Yan Chen is reportedly the brother of Chen. Yan
                      11 Chen received a minimum of $9,100,792 from the Receivership Entities.
                      12                    Yan Chen shared control over Amauction with Chen. Amauction
                      13 received $18,233,872 of USFIA Package Investor funds. Amauction also benefitted
                      14 from the commingling of $1,631,727 of additional investor money as discussed
                      15 below.
                      16                    Yan Chen appears to have also controlled Ammine SRL, a Dominican
                      17 Republic entity. The Receivership Entities gave Ammine SRL $425,285,
                      18 purportedly for the purchase of land by Ammine SRL in Dominican Republic. The
                      19 land was to purportedly be purchased for the purpose of mining amber.
                      20 Unfortunately, USFIA never held title to the land. Instead, the land was vested in the
                      21 name of Yan Chen or Ammine SRL. Ammine SRL also received $12,810,000 in
                      22 intercompany transfers discussed in further detail below. Of these funds, $8,816,000
                      23 was spent on raw amber, larimar and shells. $2.363 million was used for operating
                      24 expenses consisting of payroll, equipment, supplies, and freight expenses. Mary
                      25 Oliva Alvarez Lam, who apparently operated the Dominican Republic operations,
                      26 received $220,568, leaving $1,162,270 unaccounted for.
                      27                    Yan Chen operates Chenne Corporation, an active California
                      28 Corporation that is a reseller of jewelry. Recently Chenne Corporation listed its
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                            1189688.01/LA                               -7-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 10 of 32 Page ID
                                                  #:10458



                      1 business as real estate investment on its registration with the California Secretary of
                      2 State. Yan Chen’s wife, Yaqin Jiao, is the sole officer of Chenne Corporation. Early
                      3 in the receivership, deliveries of ornamental jewelry materials addressed to 351 E.
                      4 Foothill Boulevard, Arcadia, California, were erroneously delivered by private
                      5 delivery services to 135 E. Live Oak in Arcadia, the location of Chen’s business
                      6 operations.
                      7                     The Receiver did not immediately assume possession of Chenne
                      8 Corporation. As the accounting work unfolded, it became clear that Chenne
                      9 Corporation received significant sums from Receivership Entities. More specifically,
                     10 Chenne received $3,598,239.80. It was also learned that the Receivership Entities
                     11 paid over $11 million for large quantities of ornamental and jewelry materials such
                     12 as turquoise, larimar and agate. However, no corresponding sales revenue to the
                     13 Receivership Entities was identified and it appears the Receivership Entities were
                     14 funding material purchases of jewelry for companies controlled by Yan Chen and
                     15 Yaqin Jaio. For example, Shiny Stones, a company controlled Yaqin Jaio, received
                     16 $3,910,600. The Receiver could discern no consideration for these payments to
                     17 Shiny Stones.
                     18                     c.   Wei He. Wei He is reportedly a former spouse of Chen and
                     19 mother of his son Steven Chen. Wei was also a principal of Amkey, Inc. Ms. He
                     20 received $1,538,427 in direct payments and personal expenses from the Receivership
                     21 Entities. The Receivership Entities also paid $5,334,000 toward the purchase of two
                     22 residential properties which were held by entities controlled by Wei He.
                     23 Specifically, the Receivership Entities paid $4,424,000 to purchase the property
                     24 located at 363 Monterey Pines in Arcadia, CA, and $910,000 to purchase the
                     25 property located at 5088 Scholarship in Irvine, CA. Both properties have been
                     26 recovered by the Receiver as part of the Court-approved settlement with Wei He and
                     27 are currently under contract to sell pending Court approval.
                     28
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                            1189688.01/LA                             -8-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 11 of 32 Page ID
                                                  #:10459



                      1                     d.    Li Zhao. Li Zhao and Chen are the parents of David Chen.
                      2 Li Zhao received direct payments and payments of her expenses in the amount of
                      3 $3,875,492.52. Among the payments were monthly lease payments on a Porsche of
                      4 $3,100, the purchase of a Cadillac costing $114,000, David Chen’s tuition, and
                      5 countless payments to support Li Zhao's lifestyle (i.e., casinos, department stores,
                      6 etc.). Many of these payments were made beyond the statute of limitations.
                      7                     Li Zhao claims to have owned Ally Investments whose accounts in the
                      8 amount of approximately $3.1 million were frozen at the time of the TRO. Ally also
                      9 held a safety deposit box that contained $100,000 that was frozen. Through a series
                     10 of arcane transactions among Ally, Li Zhao and the Receivership Entities, Li Zhao
                     11 received title to a property on Gainsboro Drive in San Marino, California costing
                     12 $2,345,303.75.
                     13                     The Receiver sought authority to pursue claims against Li Zhou. Before
                     14 commencing the litigation, the Receiver entered into a settlement with Li Zhao and
                     15 as a result took possession of the Gainsboro residence, the frozen funds and the
                     16 safety deposit box cash.
                     17                     e.    Luyang Li. Luyang Li is reportedly the current spouse of Chen
                     18 and mother of his two young children. Luyang Li received $295,722 by way of
                     19 payroll checks and debit card withdrawals on Receivership Entity bank accounts.
                     20 The Receiver could not find any evidence that she was an employee or worked at the
                     21 enterprise.
                     22                     f.    Mo Chen. Mo Chen is Steve Chen’s son. Mo Chen received
                     23 $379,170 in direct payments, and $179,171 in personal expenses paid on his behalf.
                     24 Steamfont Investment Group, a subsidiary and affiliate controlled by Mo Chen
                     25 received $29,668. Mo Chen was also a principal of Amkey, Inc. and Amkey Global
                     26 as discussed in further detail below. Mo Chen directed the payment of $200,000 of
                     27 funds into a real estate venture known as CMP Capital Investment, an asset that
                     28 Receiver was unable to recover.
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                            1189688.01/LA                              -9-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 12 of 32 Page ID
                                                  #:10460



                      1                     g.    Qun Yang. Qun Yang is reportedly a friend (and perhaps a
                      2 former spouse) of Chen. Qun Yang received direct payments of $1,302,098. In
                      3 addition, Ahome, Inc. purchased a single-family residence at 1261 N. Vosburg in
                      4 Arcadia from Qun Yang and vested title in the name of Steamfont. The receivership
                      5 entities also funded the purchase of a property located at 42 Alta Street, Unit A,
                      6 which was placed in Qun Yang’s name for no apparent consideration. On the basis
                      7 of these transactions the Receiver demanded turnover of the 42 Alta St. and 1261
                      8 N. Vosburg properties. The 42 Alta St. property was sold by Qun Yang and a
                      9 portion of the proceeds was paid to the Receiver. The 1261 N. Vosburg property was
                     10 similarly sold by the Receiver and the proceeds were retained for the benefit of the
                     11 estate.
                     12               2.    Other Recipients of Ill-Gotten Gains.
                     13               Eiji Sakurada, also known as Solomon Yang and Solomon Sakurada
                     14 ("Sakurada"), reportedly a business associate of Steve Chen, received $3.019 million
                     15 from the Receivership Entities. Chen had entered into agreement with Sakurada
                     16 wherein Ahome Real Estate, LLC would invest $10,000,000 for a 50% interest in
                     17 J.A.C. Window, which owned land upon which J.A.C. Window would develop a
                     18 hotel to be known as the Huntington Palace. It does not appear that the venture ever
                     19 went forward, nor could the Receiver find evidence that the funds were returned to
                     20 the Receivership Entities.
                     21               John Wuo, who was a City of Arcadia councilmen and entities controlled by
                     22 him, received $1.805 million from the Receivership Entities. The Receiver could not
                     23 ascertain why the money was paid to Mr. Wuo.
                     24               3.    Payments to Overseas or Attenuated Corporate Entities.
                     25               Significant payments were made to corporate entities with only tenuous
                     26 connections to the Receivership Entities. Many of these entities were located in
                     27 foreign countries which limited the Receiver's ability to trace or recover proceeds. A
                     28 discussion of what is known and not known about these payments follows:
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                            1189688.01/LA                               -10-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 13 of 32 Page ID
                                                  #:10461



                      1                     a.   American Immigration Consultant, Ltd. ($4,075,000). While the
                      2 Receiver does not have a complete understanding of the purpose or nature of the
                      3 disbursements made to American Immigration Consultant, Ltd., bank statements and
                      4 ledgers for an American Immigration Consultant, Ltd. were maintained in the
                      5 Receivership Entities' in-house accountant’s office. The records reflect wires to an
                      6 HSBC Bank account in Hong Kong and were initiated by Chen or Yan Chen from
                      7 either USFIA or Amauction accounts. Moreover, just prior to the appointment of the
                      8 Receiver, Chen attempted to wire funds from an Amkey, Inc. bank account in the
                      9 amount of $3,500,000 to American Immigration Consultant, Ltd. The bank’s
                     10 compliance department would not allow the large transfer oversees. The Receiver
                     11 could not discern a valid business purpose for any of these transfers. Based upon the
                     12 Receiver's investigation and analysis, it is believed that Chen and his brother were
                     13 able to control these funds once they had been transferred overseas. American
                     14 Immigration Consultant, Ltd. shared an address with AMN, Ltd. which was an
                     15 affiliate of the Receivership Entities.
                     16                     b.   AMN, Ltd. ($3,130,000). The Receiver was not able to determine
                     17 the nature or purpose of payments made to AMN, Ltd. The payments of $3,130,000
                     18 were comprised of two wire transfers to Hong Kong banks from Amkey and
                     19 Amauction bank accounts. The Receiver was able to determine that AMN, Ltd. was
                     20 an affiliate based upon a review of the records and Chen's and/or Receivership
                     21 Entities' use of the AMN, Ltd. name on marketing materials, jewelry boxes and
                     22 jewelry bags. It is also described in records as the “group’s jewelry brand” and held
                     23 the USFIA Jewelry Queen Pageants that were part of promotional events held for
                     24 Gemcoin investors. AMN, Ltd also shares an address with American Immigration
                     25 Consultant, Ltd.
                     26                     c.   Amkey International Entities ($4,648,886). The Receivership
                     27 Entities disbursed $4,648,886.55 to various Amkey entities operating in Korea,
                     28 Taiwan, Viet Nam, and Malaysia. Amkey and Amkey Global appear to have
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                            1189688.01/LA                            -11-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 14 of 32 Page ID
                                                  #:10462



                      1 operated businesses that sold health and beauty products using a multi-level
                      2 marketing structure. The Receiver believes that these payments were for the
                      3 operating expense of the overseas Amkey operations and their local executives.
                      4               The Receiver also notes that Amkey had product sales of $7,579,382.33 and
                      5 spent $4,469,922 for health and beauty products. However, after payment of payroll
                      6 and operating expenses, Amkey appears to have operated at a loss. At the time of the
                      7 Receiver’s appointment, Amkey Global, which appeared to be a successor to Amkey,
                      8 was being managed by Mo Chen who had discussed potentially continuing to operate
                      9 Amkey Global after the Receiver's appointment. The financial terms, including
                     10 release of certain funds frozen by the Court, were not something the Receiver could
                     11 recommend to Court.
                     12               4.    Summary of Real Estate Purchases.
                     13               Over $45.5 million of the investor funds was spent on the purchase of real
                     14 estate. Most of the properties have been liquidated by the Receiver for the benefit of
                     15 the investors. A list of real estate assets purchased by the Defendants is as follows:
                     16      345 Oak Mountain, Bradbury                        6,132,311.55
                     17      Hills Garden Hotel – Ostrems                      5,862,328.85
                     18      409 Deodar                                        5,300,000.00
                     19      1221 S. Atlantic Blvd                             5,232,273.03
                     20      363 Monterey Pines Dr Arcadia                     4,424,000.00
                     21      135 E. Live Oak, Arcadia                          3,999,851.87
                     22      Quail Ranch Golf Course                           3,967,093.44
                     23      2857 Gainsborough                                 2,345,303.75
                     24      849 Balboa Dr. Arcadia                            1,255,463.56
                     25      Almond St., Rancho Cucamonga                      1,200,000.00
                     26      919 Fairview Ave, B Arcadia                        921,754.01
                     27      5088 Scholarship, Irvine                           910,000.00
                     28      42 Alta St, Unit A Arcadia                         769,900.00
       LAW OFFICES
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   Mallory & Natsis LLP

                            1189688.01/LA                               -12-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 15 of 32 Page ID
                                                  #:10463



                      1      1261 N Vosburg Dr Azusa                          734,462.16
                      2      2315 Club Vista Dr, Glendora                     631,647.10
                      3      4116 Lynd Avenue                                 483,784.83
                      4      Dominican Republic Land                          425,285.27
                      5      4050 Lynd Avenue                                 372,649.99
                      6      8280 Utica Avenue                                353,364.03
                      7      CMP Capital Investment                           200,000.00
                      8      Total Real Estate                           45,521,473.44
                      9 With the exception of the Dominican Republic land, which the Receiver abandoned,
                     10 and the CMP Capital Investment, the Receiver took possession and disposed of all of
                     11 the foregoing properties.
                     12               5.    Operating Expenses.
                     13               Approximately 14%, or $27.5 million of the amount raised from investors was
                     14 spent operating the enterprise. Of this amount, payroll expenses were $8.922
                     15 million. Merchant account fees paid to credit card processors that allowed the
                     16 Receivership Entities to take investor funds via credit card were $3.239 million. The
                     17 operating expenses also include $4.146 million in sales and marketing expenses,
                     18 including $3.399 million spent on lavish conferences used to solicit funds from
                     19 investors. $4.921 million was spent on travel expenses which included $2.979
                     20 million for investor prospects and the $1.943 million for the travel expenses of
                     21 distributors and sales personnel. $2.446 million was spent on rent, office equipment
                     22 and office expenses. The remaining operating expenses are as set forth in various
                     23 smaller categories on the Profit & Loss Statement found in Exhibit B.
                     24               6.    Commissions and Awards.
                     25               Commissions of $14.404 million were paid to approximately 2,100 recipients.
                     26 In addition, certain individuals received gifts of ipads, cell phones, retail gift cards,
                     27 expensive designer bags, sporting event tickets and other awards valued in total at
                     28 $1.201 million.
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                            1189688.01/LA                              -13-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 16 of 32 Page ID
                                                  #:10464



                      1               7.    Ornamental and Semi-Precious Jewelry.
                      2               The Receivership Entities spent $11.561 million on ornamental and semi-
                      3 precious jewelry. A portion of this amount was spent on hundreds of thousands of
                      4 simple rings made of silver and a material appearing to look like turquoise at a cost
                      5 of less than $20 each. The Defendant’s marketing materials represented that these
                      6 $20 rings were worth $10,000 each and were part of the tangible backing for
                      7 Gemcoins. The cost category also includes inventory purchases for the benefit of
                      8 companies controlled by Yan Chen and Yaqin Jaio.
                      9               8.    Amber.
                     10               The heart of Chen's scheme was that the investors' Gemcoins would be backed
                     11 by and fluctuate with the value of amber. To further demonstrate this aspect of the
                     12 program, Gemcoin investors were given a small amount of amber of very little
                     13 pecuniary value in return for their Gemcoin investment. The Receivership Entities
                     14 spent $8.312 million to purchase amber.
                     15               9.    Vecast Stock.
                     16               In May, 2010, Alliance NGN, a receivership entity, bought $6,000,000 in
                     17 Vecast, Inc., common stock. Vecast, Inc. was controlled by George Wu and
                     18 purported to develop and sell cable television equipment in China. The company is
                     19 now defunct.
                     20               The Receiver learned from company business records, and from investors, that
                     21 as early as 2004 Chen had issued stock in Amkey, Inc. In 2010, Chen sent notice
                     22 that the shares were being recalled and investors would receive shares in Vecast, Inc.
                     23 Some of these investors also bought more Vecast shares. In this manner, Chen raised
                     24 $11.2 million from investors to support his Vecast investment. These funds are
                     25 reflected as Investor Funds Alliance on the Profit & Loss statement found in
                     26 Exhibit B.
                     27
                     28
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                            1189688.01/LA                              -14-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 17 of 32 Page ID
                                                  #:10465



                      1               10.   Precious Gems.
                      2               The Receivership Entities spent $5.4 million on precious stones including
                      3 diamonds, rubies and emeralds. Other than six one carat loose diamonds found in
                      4 Chen’s desk, the Receiver was not able to recover any of the precious gems.
                      5               11.   Cost of Goods Sold.
                      6               The Receivership Entities purchased certain goods for resale. Amkey product
                      7 sales were $7.579 million and there were corresponding purchases of health and
                      8 beauty products of $4.470 million. In addition, while the exact nature of
                      9 Amauction’s business in not entirely understood, it appears to have had revenue from
                     10 a few auctions of goods that generated revenue of $596,000 with corresponding
                     11 product purchases of approximately $289,000.
                     12               12.   Real Property Operating Expenses.
                     13               As noted above, the Receivership Entities purchased over $45 million in real
                     14 estate they spent $3.2 million maintaining the properties including but not limited to
                     15 paying for repairs and maintenance, insurance, and property taxes.
                     16               13.   Funds Returned to Investors ($1.7 million).
                     17               As noted previously, only a small amount of money was returned to investors.
                     18 According to the records, the Receiver could only find payments to 37 investors who
                     19 received $1.437 million in the return of their principal. In addition, 19 investors
                     20 received a total of $302,408 in interest and purported dividend payments. It appears
                     21 that most, if not all of these payments were to Non-USFIA Package Investors and
                     22 many of the payments pre-date USFIA.
                     23               14.   Credit Card Payments ($.306 million).
                     24               The enterprise used credit cards to make certain expenditures. In total
                     25 $350,585 was charged on credit cards. Payments of $306,452 were made, and credit
                     26 card companies were owed $44,133 at the time the Receiver was appointed.
                     27
                     28
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                            1189688.01/LA                                -15-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 18 of 32 Page ID
                                                  #:10466



                      1               15.   Mortgage Principal Paid ($.169 million).
                      2               The Receivership Entities borrowed $2.4 million on a mortgage to finance the
                      3 purchase of an apartment building located at 1221 S. Atlantic in Alhambra,
                      4 California. Payments of $169,080.91 had been made on the loan at the time the
                      5 Receiver was appointed.
                      6 D.            Intercompany Transfers and Commingling.
                      7               Commingling of funds among the various Receivership Entities was
                      8 substantial. Funds in the amount of $95,509,646 were transferred between and
                      9 among the Receivership Entities as indicated by the following schedule of amounts
                     10 received from and paid to separate Receivership Entities and the net amount by
                     11 which commingling benefitted or hurt that entity.
                     12
                                                                   Payments          Payments       Net benefit/
                     13      Entity                           from Affiliates     to Affiliates    (contributor)

                     14      Aborell Advisors                      359,017             346,990         12,027
                     15      Aborell Invesment Assoc.                 8,819              6,254           2,565
                     16      Aborell Investors LP                     8,816              6,316           2,500
                     17      Aborell Mgmt. 1, LLC                  576,356             944,000       (367,644)
                     18      Aborell REIT                          500,000             400,000        100,000
                     19      Aborell REIT II, LLC                2,733,199        1,690,500         1,042,699
                     20      Ahome Real Estate                  10,308,674       15,093,280        (4,784,606)
                     21      Alliance Financial Group              937,089             515,900        421,189
                     22      Alliance NGN                       12,496,591        8,224,964         4,271,627
                     23      Ally Investors, LLC                 1,521,492             100,000      1,421,492
                     24      Amauction, Inc.                    21,555,027       19,953,300         1,601,727
                     25      Ameritra                               20,000              49,984        (29,984)
                     26      Amkey, Inc.                         3,160,046       29,389,540       (26,229,494)
                     27      Ammine SRL                         12,810,000                   -     12,810,000
                     28      Apollo Advisers I                     693,595             683,342         10,253
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                            1189688.01/LA                               -16-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 19 of 32 Page ID
                                                  #:10467



                      1      Apollo Investment Assoc.                 10,000            8,819              1,181
                      2      Apollo Investors LP                     130,000          128,816              1,184
                      3      Apollo Mgmt, I, LLC                     110,750          294,366          (183,616)
                      4      Apollo REIT I                          5,236,279       2,796,361         2,439,918
                      5      Apollo REIT II                         6,516,681       1,929,273         4,587,408
                      6      L'Be Group                             3,104,000       2,681,687           422,313
                      7      One World Currency                      100,000                            100,000
                      8      Quail Ranch Gold Course                 504,946          426,874             78,072
                      9      Steamfont Capital Inv Grp              2,100,000       4,500,000        (2,400,000)
                     10      Steamfont Invest Group                 1,402,000         400,000         1,002,000
                     11      Hills Garden                            500,000                 -          500,000
                     12      US China Consulation                    200,000          174,525             25,475
                     13      USFIA, Inc.                            7,906,268       4,764,555         3,141,713
                     14      Total                               95,509,646        95,509,646                   -
                     15
                     16               Ammine SRL, Ltd. was the largest beneficiary of commingling and received
                     17 $12,810,000 in intercompany transfers. Amkey, Inc. was the largest contributor and
                     18 made net intercompany transfers of $28.375 million. It appears from the foregoing
                     19 analysis of intercompany transfers that nearly half the amount collected from
                     20 investors was commingled amongst the Receivership Entities.
                     21                                       IV.     CONCLUSION
                     22               Chen established an arcane network of entities and bank accounts to facilitate
                     23 the flow of funds from the investors to himself and then commingled cash and assets
                     24 without any regard to corporate formalities whatsoever. The financial records of the
                     25 Receivership Entities indicate Chen's scheme to defraud purported investors of
                     26 nearly $200 million was vast, and remarkably, it appears that aside from a few
                     27 people, none of the investors received any return on their investment. Nor could
                     28 investors have earned a return because their capital was never deployed for so-called
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                            1189688.01/LA                                -17-
                 Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 20 of 32 Page ID
                                                  #:10468



                      1 Gemcoins or any other crypto-currency. Instead, Chen and his dependents, relatives
                      2 and associates, misappropriated virtually all of the money to support their lavish
                      3 lifestyles as well as for their personal real estate and other assorted ventures. Chen
                      4 never created a crypto-currency backed the value of vast quantities of amber and
                      5 other precious stones. This, like the entire enterprise, was simply a sales pitch
                      6 directed to unwitting investors both in the United States and abroad.
                      7
                      8
                      9
                     1 O Dated: December 16, 2019
                     11
                     12
                     13
                     14 Dated: December 16, 2019                   ALLEN MATKINS LECK GAMBLE
                                                                    MALLORY & NATSIS LLP
                     15
                     16                                            By :        /s/ David R.     Zaro
                                                                           --,-             _,---,,----
                     17                                                   -D A-V-ID_R_. Z�AR 0 --------i
                                                                          Attorneys for Receiver
                     18                                                    THOMAS SEAMAN

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                            ll89688.0l/LA                          -18-
  Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 21 of 32 Page ID
                            USFIA Forensic
                                    #:10469Accounting
                                              Balance Sheet
                                              As of Sept. 28, 2015

ASSETS
   Current Assets
         Checking/Savings
            Amkey- Propay Meta Bank xx6584            86,739.28
            USFIA - First Data                       448,255.00
            USFIA -Woodforest National Bank          107,959.78
            Aborell Mgmt- BofA xx3688                 38,792.77
            Aborell REIT-Torrey Pns xx6620           101,122.17
            Aborell REIT II -BofA xx3578              59,878.79
            Aborell REIT II -Chase xx7101              7,552.43
            Ahome Real Estate-BofA xx7811          3,199,031.12
            Ahome Real Estate-BofA xx9668               100.00
            Alliance Finl Group-BofA xx0086            1,246.87
            Alliance NGN-First Ctzns xx6527             238.92
            Alliance NGN, Inc -BofA xx0450           226,180.54
            Aborell Advisors I- BofA xx3675            7,223.96
            Alliance NGN, Inc -HSBC xx1938              155.27
            Alliance NGN, Inc -HSBC xx5488                10.94
            Alliance NGN, Inc -HSBC xx9610                58.70
            Alliance NGN, Inc.-BofA xx9564           223,013.88
            Ally Investors LLC -BofA xx6448          100,743.34
            Ally Investors LLC -BofA xx7748        2,934,186.76
            Amauction, Inc.-BofA xx7980            1,021,610.98
            Ameritra, Inc.- BofA xx1564               13,672.74
            Amkey-Nat'l Bank of Cal xx3589         4,122,380.92
            Amkey Global Corp.-BofA 9167           1,818,341.49
            Amkey Global Corp.-BofA 9277                100.00
            Amkey, Inc.-BofA xx7970                  719,543.70
            Amkey, Inc.-BofA xx8413                3,757,476.71
            Amkey, Inc.-BofA xx8465                   20,000.00
            Amkey, Inc.-BofA xx8517                    2,525.00
            Amkey, Inc.-Far East xx0567                2,093.47
            Amkey, Inc.-Far East xx5135              999,843.20
            Hills Garden Hotel -BofA xx8868          394,373.73
            One Wrld Crrncy Fnd-BofA xx9058           85,000.00
            Steamfont Investmt -BofA xx1235          495,305.57
            Steamfont Investmt -BofA xx8477            5,953.49
            Steamfont Invt-Scttrd/TDAxx7057        1,253,944.98
            Steamfont Invt-Scttrd/TDAxx7058           43,084.99
            US-China Cons.-BofA xx5788                     0.09
            US-China Cons.-BofA xx6580                 9,479.12
            USFIA - Bank of America xx0123         3,834,664.69
            USFIA, Inc.-Far East xx4198            1,000,000.00
            USFIA, Inc.-Far East xx4228               18,242.36
            USFIA, Inc.-Wells Fargo xx0883            69,544.09
            USFIA, Inc.-Wells Fargo xx7978             1,522.96
                                                                         Exhibit A
                                                                          Page 19
                                                                         Page 1 of 3
   Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 22 of 32 Page ID
                             USFIA Forensic
                                     #:10470Accounting
                                              Balance Sheet
                                              As of Sept. 28, 2015

             USFIA, Inc. -BofA xx5882                   100.00
             USFIA, Inc. -BofA xx6182                     76.00
             USFIA, Inc. -BofA xx7578                193,207.65
             USFIA, Inc. -First Bank xx3685            9,919.00
        Total Checking/Savings                    27,434,497.45


        Other Current Assets
             Payments to Affiliates               95,509,646.08
        Total Other Current Assets                95,509,646.08


   Total Current Assets                          122,944,143.53


   Fixed Assets
        1221 S. Atlantic Blvd                      5,232,273.03
        1261 N Vosburg Dr Azusa                      734,462.16
        135 E. Live Oak, Arcadia                   3,999,851.87
        2315 Club Vista Dr, Glendora                 631,647.10
        2857 Gainsborough                          2,345,303.75
        345 Oak Mountain, Bradbury                 6,132,311.55
        363 Monterey Pines Dr Arcadia              4,424,000.00
        4050 Lynd Avenue                             372,649.99
        409 Deodar                                 5,300,000.00
        4116 Lynd Avenue                             483,784.83
        42 Alta St, Unit A Arcadia                   769,900.00
        5088 Scholarship, Irvine                     910,000.00
        8280 Utica Avenue                            353,364.03
        849 Balboa Dr. Arcadia                     1,255,463.56
        919 Fairview Ave, B Arcadia                  921,754.01
        Almond St., Rancho Cucamonga               1,200,000.00
        CMP Capital Investment                       200,000.00
        Dominican Republic Land                      425,285.27
        Hills Garden Hotel - Ostrems               5,862,328.85
        Quail Ranch Golf Course                    3,967,093.44
        Vecast, Inc. stock                         6,000,000.00
   Total Fixed Assets                             51,521,473.44


   Other Assets
        Company Vechicles                            421,296.53
   Total Other Assets                                421,296.53


TOTAL ASSETS                                     174,886,913.50


LIABILITIES & EQUITY
   Liabilities
        Current Liabilities
             Credit Cards
                                                                          Exhibit A
                                                                           Page 20
                                                                          Page 2 of 3
   Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 23 of 32 Page ID
                             USFIA Forensic
                                     #:10471Accounting
                                                    Balance Sheet
                                                    As of Sept. 28, 2015

                  Amauction BOFA CC XX6233                   7,519.16
                  USFIA Bank of America Card 5429           36,613.10
            Total Credit Cards                              44,132.26


            Other Current Liabilities
                  Payments from Affiliates              95,509,646.08
            Total Other Current Liabilities             95,509,646.08


       Total Current Liabilities                        95,553,778.34


       Long Term Liabilities
            Notes Payable
                  JP Morgan Chase - Alhambra             2,230,919.09
            Total Notes Payable                          2,230,919.09


       Total Long Term Liabilities                       2,230,919.09


   Total Liabilities                                    97,784,697.43


   Equity
       Opening Balance Equity                              157,207.18
       Retained Earnings                                76,945,008.89
   Total Equity                                         77,102,216.07


TOTAL LIABILITIES & EQUITY                             174,886,913.50




                                                                           Exhibit A
                                                                            Page 21
                                                                           Page 3 of 3
   Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 24 of 32 Page ID
                              USFIA Forensic
                                     #:10472 Accounting
                                                 Profit & Loss
                                                 All Transactions
                                                 Sept. 28, 2015

    Income
        Amauction Revenue                            596,035.40
        Amkey Product Sales                        7,579,382.33
        Dividend and Interest income                 301,875.91
        Gemcoin Investor Funds
               Ahome for USFIA                    46,755,104.60
               Amauction for USFIA                18,233,871.81
               Amkey for USFIA                    48,420,896.81
               Investor Funds USFIA               33,559,397.83
        Total Gemcoin Investor Funds             146,969,271.05


        Other Money Raising
               Investor Funds Aborell                101,582.10
               Investor Funds Ahome                2,124,970.42
               Investor Funds Alliance            11,211,753.99
               Investor Funds Ally                 4,448,009.69
               Investor Funds Amkey               20,587,910.43
               Investor Funds Apollo REIT          6,914,499.75
               Investor Funds Steamfont            4,625,274.98
        Total Other Money Raising                 50,014,001.36


        Rental Income
               Alhambra Gardens                    1,511,808.40
               Commercial                            401,335.24
               Hills Garden Hotel Revenue            181,771.92
        Total Rental Income                        2,094,915.56


    Total Income                                 207,555,481.61


Gross Profit                                     207,555,481.61


    Expense
        Amauction Purchases                          288,955.53
        Ammine Operatng Expenses                   2,365,263.81
        Ammine Travel Expenses                        10,779.50
        Ammine Unspecified Disbursement            1,165,875.05
        Bank service charges                          72,682.57
        Consignor Payments                            12,001.75
        Defendants and Insiders
               AMN, Ltd.                           3,130,000.00
               American Immigration Consultant     4,075,000.00
               Amkey International Entities        4,477,120.38
               Ammine BHD account                    446,826.14
               Eiji Sakurada                       3,019,403.41
               John Wuo, and entities              1,805,000.00
                                                                          Exhibit A
                                                                           Page 22
                                                                                  Page 1 of 4
Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 25 of 32 Page ID
                           USFIA Forensic
                                  #:10473 Accounting
                                            Profit & Loss
                                            All Transactions
                                            Sept. 28, 2015

       L'BE Commodity Co, LTD                   400,523.30
       Li (Jennfier) Zhao                     3,875,492.52
       Luyang Li                                295,722.12
       Mary Oliva Alvarez Lam                   220,568.46
       Mo Chen
            Mo Chen Direct                      379,170.57
            Payments on behalf of Mo Chen       179,182.16
            Steamfont Investment Group           29,667.85
       Total Mo Chen                            588,020.58


       Offshore Entities - Use unknown        3,148,740.28
       On behalf of Steve Chen                1,165,034.36
       Other Insiders                         3,871,035.45
       Personal Expenses of insiders          2,923,979.17
       Political Contributions                   14,000.00
       Qun Yang                               1,302,098.26
       Steve Chen                             4,039,392.87
       Wei (Grace) He                         1,538,427.12
       Yan Chen
            Chenne Corp                       3,598,239.80
            Shiny Stones                      3,910,600.00
            Yan Chen Direct                     814,945.78
            Yan Chen Mercedes                   166,735.87
            Yan Chen personal expenses          545,389.22
            YaQin Jiao - Yan Chen's Wife         64,881.58
       Total Yan Chen                         9,100,792.25


   Total Defendants and Insiders             49,437,176.67


   Employee expense reimbursements               15,431.44
   Guns and Ammunition                           28,265.72
   Immigration related                           12,553.95
   Insurance
       Auto                                      34,839.21
       Liability                                 20,353.48
       Wokers comp                               21,354.73
   Total Insurance                               76,547.42


   Interest Expense                              14,887.14
   Investors & Distributors
       Awards to distributors                 1,200,903.94
       Distributor Commissions & Bonus       14,404,018.63
       Interest/gain paid to investors          302,408.01
       Payments on behalf of investors          104,767.40
       Principal Returned to Investors        1,437,256.73
                                                                       Exhibit A
                                                                        Page 23
                                                                               Page 2 of 4
Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 26 of 32 Page ID
                           USFIA Forensic
                                  #:10474 Accounting
                                             Profit & Loss
                                             All Transactions
                                             Sept. 28, 2015

   Total Investors & Distributors             17,449,354.71


   Legal Settlements                              80,410.00
   Licenses and Fees                              62,714.87
   Merchant Acct Fees and Discount             3,239,137.77
   Mortgage Interest Expense                     308,082.70
   Office Equipment                              384,794.31
   Office expense                              1,313,598.31
   Payroll and Related
       Payroll- Employee Benefits                910,641.42
       Payroll Expense                         7,825,213.80
       Weiwen Zhao                               186,745.34
   Total Payroll and Related                   8,922,600.56


   Professional Fees
       Accounting fees                           146,338.60
       Consulting Fees                            71,745.00
       Legal                                     515,503.21
   Total Professional Fees                       733,586.81


   Purchases
       Health/Beauty Products                  4,469,922.34
       Jewelry/ Materials
            Amber                              8,311,846.48
            Gems Precious                      5,423,311.85
            Ornmtl & semi-precious jewelry    11,561,286.56
            Supplies/Jewelry Equipment            61,902.98
       Total Jewelry/ Materials               25,358,347.87


       Shipping & Freight                        476,827.30
   Total Purchases                            30,305,097.51


   Real Property Expenses
       Hotel Operating Expenses                  163,404.34
       Improvements                              413,289.96
       Insurance                                  74,940.86
       Outside Services                          929,339.11
       Property Taxes                            941,278.24
       Repairs & Maintenance                     603,195.77
       Utilities                                 174,083.15
   Total Real Property Expenses                3,299,531.43


   Rent Expense                                  747,570.64
   Sales & Marketing Expense
       Advertising                               472,746.04
                                                                       Exhibit A
                                                                        Page 24
                                                                               Page 3 of 4
      Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 27 of 32 Page ID
                                 USFIA Forensic
                                        #:10475 Accounting
                                                Profit & Loss
                                                All Transactions
                                                Sept. 28, 2015

                 Conferences                      3,399,045.01
                 EB5 Related Expenses                29,125.67
                 Printing and Sales Materials       245,706.42
             Total Sales & Marketing Expense      4,146,623.14


             Taxes
                 Income                             179,421.68
                 Sales Tax                          345,428.44
                 Unsecured Property Tax              28,469.56
             Total Taxes                            553,319.68


             Travel & Entertainment
                 Meals & Entertainment              298,560.74
                 Mileage                             82,400.72
                 Travel expense
                     Distributors & Employees     1,942,716.01
                     Investor propsect            2,978,885.17
                     Travel expense - Other             169.52
                 Total Travel expense             4,921,770.70


             Total Travel & Entertainment         5,302,732.16


             Unspecified expense                    260,897.57
       Total Expense                            130,610,472.72


Net Income                                       76,945,008.89




                                                                             Exhibit A
                                                                              Page 25
                                                                                     Page 4 of 4
   Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 28 of 32 Page ID
                              USFIA Forensic
                                     #:10476 Accounting
                                                 Profit & Loss
                                                 All Transactions
                                                 Sept. 28, 2015

    Income
        Amauction Revenue                            596,035.40
        Amkey Product Sales                        7,579,382.33
        Dividend and Interest income                 301,875.91
        Gemcoin Investor Funds
               Ahome for USFIA                    46,755,104.60
               Amauction for USFIA                18,233,871.81
               Amkey for USFIA                    48,420,896.81
               Investor Funds USFIA               33,559,397.83
        Total Gemcoin Investor Funds             146,969,271.05


        Other Money Raising
               Investor Funds Aborell                101,582.10
               Investor Funds Ahome                2,124,970.42
               Investor Funds Alliance            11,211,753.99
               Investor Funds Ally                 4,448,009.69
               Investor Funds Amkey               20,587,910.43
               Investor Funds Apollo REIT          6,914,499.75
               Investor Funds Steamfont            4,625,274.98
        Total Other Money Raising                 50,014,001.36


        Rental Income
               Alhambra Gardens                    1,511,808.40
               Commercial                            401,335.24
               Hills Garden Hotel Revenue            181,771.92
        Total Rental Income                        2,094,915.56


    Total Income                                 207,555,481.61


Gross Profit                                     207,555,481.61


    Expense
        Amauction Purchases                          288,955.53
        Ammine Operatng Expenses                   2,365,263.81
        Ammine Travel Expenses                        10,779.50
        Ammine Unspecified Disbursement            1,165,875.05
        Bank service charges                          72,682.57
        Consignor Payments                            12,001.75
        Defendants and Insiders
               AMN, Ltd.                           3,130,000.00
               American Immigration Consultant     4,075,000.00
               Amkey International Entities        4,477,120.38
               Ammine BHD account                    446,826.14
               Eiji Sakurada                       3,019,403.41
               John Wuo, and entities              1,805,000.00
                                                                       Exhibit B
                                                                        Page 26
                                                                                   Page 1 of 4
Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 29 of 32 Page ID
                           USFIA Forensic
                                  #:10477 Accounting
                                            Profit & Loss
                                            All Transactions
                                            Sept. 28, 2015

       L'BE Commodity Co, LTD                   400,523.30
       Li (Jennfier) Zhao                     3,875,492.52
       Luyang Li                                295,722.12
       Mary Oliva Alvarez Lam                   220,568.46
       Mo Chen
            Mo Chen Direct                      379,170.57
            Payments on behalf of Mo Chen       179,182.16
            Steamfont Investment Group           29,667.85
       Total Mo Chen                            588,020.58


       Offshore Entities - Use unknown        3,148,740.28
       On behalf of Steve Chen                1,165,034.36
       Other Insiders                         3,871,035.45
       Personal Expenses of insiders          2,923,979.17
       Political Contributions                   14,000.00
       Qun Yang                               1,302,098.26
       Steve Chen                             4,039,392.87
       Wei (Grace) He                         1,538,427.12
       Yan Chen
            Chenne Corp                       3,598,239.80
            Shiny Stones                      3,910,600.00
            Yan Chen Direct                     814,945.78
            Yan Chen Mercedes                   166,735.87
            Yan Chen personal expenses          545,389.22
            YaQin Jiao - Yan Chen's Wife         64,881.58
       Total Yan Chen                         9,100,792.25


   Total Defendants and Insiders             49,437,176.67


   Employee expense reimbursements               15,431.44
   Guns and Ammunition                           28,265.72
   Immigration related                           12,553.95
   Insurance
       Auto                                      34,839.21
       Liability                                 20,353.48
       Wokers comp                               21,354.73
   Total Insurance                               76,547.42


   Interest Expense                              14,887.14
   Investors & Distributors
       Awards to distributors                 1,200,903.94
       Distributor Commissions & Bonus       14,404,018.63
       Interest/gain paid to investors          302,408.01
       Payments on behalf of investors          104,767.40
       Principal Returned to Investors        1,437,256.73
                                                                    Exhibit B
                                                                     Page 27
                                                                                Page 2 of 4
Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 30 of 32 Page ID
                           USFIA Forensic
                                  #:10478 Accounting
                                             Profit & Loss
                                             All Transactions
                                             Sept. 28, 2015

   Total Investors & Distributors             17,449,354.71


   Legal Settlements                              80,410.00
   Licenses and Fees                              62,714.87
   Merchant Acct Fees and Discount             3,239,137.77
   Mortgage Interest Expense                     308,082.70
   Office Equipment                              384,794.31
   Office expense                              1,313,598.31
   Payroll and Related
       Payroll- Employee Benefits                910,641.42
       Payroll Expense                         7,825,213.80
       Weiwen Zhao                               186,745.34
   Total Payroll and Related                   8,922,600.56


   Professional Fees
       Accounting fees                           146,338.60
       Consulting Fees                            71,745.00
       Legal                                     515,503.21
   Total Professional Fees                       733,586.81


   Purchases
       Health/Beauty Products                  4,469,922.34
       Jewelry/ Materials
            Amber                              8,311,846.48
            Gems Precious                      5,423,311.85
            Ornmtl & semi-precious jewelry    11,561,286.56
            Supplies/Jewelry Equipment            61,902.98
       Total Jewelry/ Materials               25,358,347.87


       Shipping & Freight                        476,827.30
   Total Purchases                            30,305,097.51


   Real Property Expenses
       Hotel Operating Expenses                  163,404.34
       Improvements                              413,289.96
       Insurance                                  74,940.86
       Outside Services                          929,339.11
       Property Taxes                            941,278.24
       Repairs & Maintenance                     603,195.77
       Utilities                                 174,083.15
   Total Real Property Expenses                3,299,531.43


   Rent Expense                                  747,570.64
   Sales & Marketing Expense
       Advertising                               472,746.04
                                                                    Exhibit B
                                                                     Page 28
                                                                                Page 3 of 4
      Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 31 of 32 Page ID
                                 USFIA Forensic
                                        #:10479 Accounting
                                                Profit & Loss
                                                All Transactions
                                                Sept. 28, 2015

                 Conferences                      3,399,045.01
                 EB5 Related Expenses                29,125.67
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             Taxes
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             Total Travel & Entertainment         5,302,732.16


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Net Income                                       76,945,008.89




                                                                          Exhibit B
                                                                           Page 29
                                                                                      Page 4 of 4
Case 2:15-cv-07425-RGK-PLA Document 406 Filed 12/19/19 Page 32 of 32 Page ID
                                 #:10480


  1                                        PROOF OF SERVICE
  2                       Securities and Exchange Commission v. Steve Chen, USFIA, Inc., et al.,
                             USDC, Central District of California – Case No. 2:15-cv-07425-RGK-PLA
  3
          I am employed in the County of Los Angeles, State of California. I am over
  4 the age of 18 and not a party to the within action. My business address is 865
    S. Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.
  5
            On December 19, 2019, I caused to be served on all the parties to this action
  6   addressed as stated on the attached service list, the document entitled:
  7                    RECEIVER'S FORENSIC ACCOUNTING REPORT
  8            OFFICE MAIL: By placing in sealed envelope(s), which I placed for
  9
                collection and mailing today following ordinary business practices. I am
                readily familiar with the firm's practice for collection and processing of
 10             correspondence for mailing; such correspondence would be deposited with the
 11
                U.S. Postal Service on the same day in the ordinary course of business.
               OVERNIGHT DELIVERY: I deposited in a box or other facility regularly
 12
                maintained by express service carrier, or delivered to a courier or driver
 13             authorized by said express service carrier to receive documents, a true copy of
                the foregoing document(s) in sealed envelope(s) or package(s) designed by the
 14
                express service carrier, addressed as indicated on the attached service list, with
 15             fees for overnight delivery paid or provided for.
 16            HAND DELIVERY:             I caused to be hand delivered each such envelope to
                the office of the addressee as stated on the attached service list.
 17
               ELECTRONIC MAIL: By transmitting the document by electronic mail to
 18             the electronic mail address as stated on the attached service list.
 19            E-FILING: By causing the document to be electronically filed via the Court's
 20             CM/ECF system, which effects electronic service on counsel who are
                registered with the CM/ECF system.
 21
               FAX: By transmitting the document by facsimile transmission.                         The
 22             transmission was reported as complete and without error.
 23       I declare that I am employed in the office of a member of the Bar of this Court
 24 at whose direction the service was made. I declare under penalty of perjury under the
    laws of the United States of America that the foregoing is true and correct. Executed
 25 on December 19, 2019 at Los Angeles, California.

 26
                                                            /s/ Martha Diaz
 27                                                         Martha Diaz
 28


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                                                           -1-
